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                                                      October 9, 2019

        Joel Mickelson, Esquire                                 Clifton M. Dugas II, Esquire
        General Counsel                                         Foley Gardere
        Romspen Mortgage Limited Partnership                    2021 McKinney Avenue
        162 Cumberland Street, Suite 300                        Suite 1600
        Toronto, Ontario ISR 3NS                                Dallas, Texas 75201

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                Re:      3443 Zen Garden Limited Partnership Loan — NOTICE OF DEFAULT

        Gentlemen:

                This firm represents 3443 Zen Garden Limited Partnership. This letter will notify you of
       Romspen Mortgage Limited Partnership's ("Romspen") default under the April 27, 2018 Loan
       Documents executed in connection with Romspen's $125,000,000 loan to our client. This will confirm
       that, in a telephone call at 4:45 p.m. today, you advised Daniel Ryan and me that your client refuses to
       fund the pending draw request under the Loan. Please note:

       1.       Your client is in default by reason of withholding funding of the pending draw request, resulting
                in disruption to the construction project, massive additional costs of construction, loss of supply
                contracts at favorable prices, and loss of rental opportunities.

       2.       Your client is in default by reason of withholding funding based upon an allegation that our client
                misapplied funds, when, in fact, your client well knew that each and every draw request was fully
                approved by your client and its inspectors.

       3.       Your client is in default by reason of its refusal to deliver its Consent to the PACE financing, thus
                delaying and interfering with the $30,000,000 PACE financing proposed by Greenworks
                Lending.

       4.       Your client is in default by reason of its refusal to deliver its Joinder in the Second Amendment to
                the Declaration of Condominium, a requirement of the PACE Lender.

       5.       Your client is in default by reason of its statements in writing that your client would only disburse
                a maximum of $102,000,000 of the funds required to be available under the $125,000,000
                Promissory Note dated April 27, 2018 and that it is your client's "routine practice" to overstate
                such promissory notes in this and other loans. The foregoing also constitutes fraud upon the State
                of Texas and Chicago Title Insurance Company, causing damage to the project.



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Joel Mickelson, Esquire
Clifton M. Dugas, II, Esquire
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6.      Your client is in default by reason of violation of federal and Texas civil RICO statutes by reason
        of the foregoing practice and other lending practices.

7.      Your client is in default by reason of withholding funding based upon allegation of a non-existent
        requirement that the Borrower replenish the initially funded Interest Reserve.

8.      Your client is in default by reason of withholding funding based upon allegation of a yet-to-be-
        declared "balancing event".

9.     Your client is in default by reason of withholding funding based upon allegation of a non-existent
       "right" to withhold funding in the event of the loss of a tenant.

10.    Your client is in default by reason of its tortious interference with the Borrower's and the
       Guarantor's business relationships with the PACE Lender, its contractors and suppliers, its
       tenants, local and state government agencies.

11.    Upon information and belief, your client is in default by reason of its failure to maintain adequate
       funds on hand to fund all draw requests within the time periods prescribed by the Loan
       Documents.

        The foregoing do not constitute a complete recitation of your client's breaches under the Loan
Documents and our client reserves the right to expand the foregoing following discovery. Our client
demands that your client cure each and every one of the foregoing Events of Default within one business
day of the date of this letter.



                                                     Sincerely,

                                                                    CULBE TSON LLP



                                                    Daniel K. y


cc:    3443 Zen Garden Limited Partnership
       Steven C. Cronig, Esquire
       Nicholas Legatos, Esquire




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